                Case 1:13-cv-00281-SGB Document 28 Filed 02/24/14 Page 1 of 9




     lln tbe @nfte[ 9rtates @surt of :felerst @lsimg
                                                                                        No. 13-281 C
                                                                                  Filed: February 24,2014               FILED
                                                                                 NOT TO BE PUBLISHED
+,t****:t*'+**l.**'1.*'t ****'l'                                  * * * * * * :i * * :i:t *:l * * * *      *           FEB 2 4 2014
                                                                                                           *
                                                                                                                      U.S. COURT OF
MAURICEMAYNARDMEYERS,                                                                                      *         FEDEHAL CLAIMS

           Plaintiff, pro se,




THE IINITED STATES,

           Defendant.

* * * * * *,*   :t :* :i :t   *'*   1.   *   :t :i   **   ;t   * * * * * *,* *   :t   **   :i(   *******   *

Maurice Maynard Meyers, Brooklyn, New York, Plaintiff, pro                                                     se.


Tanya Beth Koenig, Trial Attomey, United States Department of Justice, Civil Division,
Washington, D.C., Counsel for the Govemment.

                                                     MEMORANDUM OPINION AND FINAL ORDER

BRADEN, -/adge.

I.         RELEVANT FACTUAL AND PROCEDURAL BACKGROUND,'

     Pro se litigant Colonel Maurice Maynard Meyers ("Plaintiff') has filed an Amended
Complaint that contains numerous allegations and requests for relief. First, the Amended

            I
          The relevant facts discussed herein were derived from: Plaintiff s Aprll 22' 2013
Complaint; Plaintiff s August 28, 2013 Motions; Plaintiffs September 23,2013 Motion;
Plaintiffs September 30,2013 Memorandum; Plaintiff s November 6,2013 Letter; Plaintiff s
November 12, 2013 Motion; Plaintiff s November 20, 2013 Amended Complaint; Plaintiffs
November 21,2013 Letters; Plaintiffs November 21,2013 Memorandum on Suspension of
Habeas Corpus; PlaintifPs November 21, 2013 Amended Document, Amendment to the
Complaint; Plaintiff s January 3, 2014 Response to the Govemment's December 9, 2013 Motion
to Dismiss the Amended Complaint (hereinafter collectively "the Amended Complaint").

       The court's factual discussion also is informed by In re Maurice Maynard Meyers' No.
13-572,2013 WL 5502825 (E.D.N.Y. Oct. 2,2013) and Meyers v. Health & Hosp. Corp.' No.
12-436 (CBA), slip op. (E.D.N.Y. Apr. 30,2012) (habeas dismissed as moot), reconsideration
denied, 2012 wL 301 103 1 (Iuly 23, 2012).
             Case 1:13-cv-00281-SGB Document 28 Filed 02/24/14 Page 2 of 9




Complaint alleges that Plaintiff attended a preliminary hearing in the District of Columbia
Superior Court where the United States Attomey failed to appear. The Amended Complaint
requests that the court eliminate the United States Attomeys' Office. Am. Compl. (Dkt. No. 1 at
2,3).

        Second, the Amended Complaint seeks an injunction against certain Govemment
agencies and to bar the effect of decisions made by the United States District Court for the
Eastern District of New York. Am. Compl. (Dkt. No. I at2,3,9); Am. Compl. (Dkt. No.23 at
I-3); see also Meyers v. Soc. Sec. Admin., No. 09-2701 , slip op. (E.D.N.Y. Oct. 30, 2009),
reconsideration denied (Aug. 19, 2010). After unsuccessfully applying for social security
benefits in Brooklyn, New York, Plaintiff applied for these benefits in Baltimore, Maryland.
Am. Compl. (Dkt. No. 24 at 3). The next day, two special agents came to Plaintiff s house and
asked his sister to be the payee and forced Plaintiff to sign a payee form. Am. Compl. (Dkt. No.
24 aI3). The Amended Complaint seeks $1.5 million dollars in punitive damages in addition to
a lump sum payment for Plaintiff s unpaid social secwity payments. Am. Compl. (Dkt. No. 24
at 3).

        Third. the Amended Complaint cites a series of Doe cases in the United States Court of
Federal Claims2 and requests that the court provide Plaintiff with a list of names of the
employees who opted into those cases for future litigation. Am. Compl. (Dkt. No' 1 at 3), Am'
Compl. (Dkt. No. I at 8). The Amended Complaint also requests that the court issue a cease and
desist order of those proceedings. Am. Compl. (Dkt. No. 1 at 9).

        Fourth, the Amended Complaint alleges that Plaintiff was the subject of a wrongful
"suspension of habeas corpus" by former President James Carter in 1978 and former President
William Clinton in 2000. Am. Compl. (Dkt. No. 20 at l). For these actions, Plaintiff seeks $800
million dollars from each President, for a total of $ 1.6 billion dollars. Am. Compl. (Dkt. No. 23
at 1). The Amended Complaint further seeks to enforce a "motion for discovery" to the Air
Force for information about research and development proposals. Am. Compl. (Dkt' No. 20 at
8). The Amended Complaint also alleges that Plaintiff was taken from his home in 1978,
because he uncovered a conspiracy against an "established congressman." Am. Compl. (Dkt.
No. 23 at 5). Apparently in retaliation, Plaintiff claims that he was abducted by three police
officers and taken to the Kings County Hospital Center after someone filed false psychiatric
claims against him. Am. Compl. (Dkt. No. 2l at 2); see also Am. Compl. (Dkt. No. 23 at 4)
("Conversion to Voluntary Status" form, indicating that Plaintiff was converted to voluntary
status at the Kingsboro Psychiatric Hospital on October 28,2013).

        Fifth, the Amended Complaint requests retroactive military pay and an update of
Plaintiff s military records. Apparently, Plaintiff cunently is engaged in sending unsolicited
proposals to the United States Air Force, the United States Marine Corps, and the United States
Navy for research and development, procurement and acquisitions, and military readiness. Am.


         '              v. United States,463 F.3d 1314 (Fed. Cir. 2006); Doe v. United States,
             See, e.g., Doe
372F.3d   1347(Fed.  Cir.2004),reh'gdenied     (Sep. 1,2004); seealsoDoev. UnitedStates,63
Fed. Cl. 798 (2005); Doe v. United States,54 Fed. Cl. a04 Q002); Doe v. United States,47 Fed.
Cl. 594 (2000); Doe v. United States, 46 Fed. Cl. 399 (2000).
         Case 1:13-cv-00281-SGB Document 28 Filed 02/24/14 Page 3 of 9




Compl. (Dkt. No. 19 at    l-2). Similar proposals also were sent to the Marine Corps Systems
Command that subsequently adopted Plaintifls "rifle weapon" proposal. Am. Compl. (Dkt. No.
20 at 6). In addition, the Amended Complaint alleges that Plaintiff has submitted a "concept"
describing the "M-l Space Bomber" for which Plaintiff seeks a one percent "suggestion award."
Am. Compl. (Dkt. No. 20 at 1,5-7).

        Sixth, the Amended Complaint seeks reinstatement of Social Security benefits for the
period o-f time that Plaintiff spent in the Kingsboro Psychiatric Center. Am. Compl. (Dkt. No. 21
at t-3).i The Amended Complaint alleges that Plaintiff was improperly denied certain Social
Security benefits for the period November 2006 until January 2011. Am. Compl. (Dkt. No. 24 at
1-4).

        On December 9,2013, the Govemment filed a Motion To Dismiss. On January 3,2014,
Plaintiff filed an "Answer To Motion To Dismiss." On January 16,2014, the Govemment filed
a Reply.

II.      DISCUSSION.

         A.     Jurisdiction.

         The United States Court of Federal Claims has jurisdiction under the Tucker Act, 28
U.S.C. $ 1491, "to render judgment upon any claim against the United States founded either
upon the Constitution, or any Act of Congress or any regulation of an executive department, or
upon any express or implied contract with the United States, or for liquidated or unliquidated
damages in cases not sounding in tort." 28 U.S.C. S 1a91(a)(l). The Tucker Act, however, is "a
jurisdictional statute; it does not create any substantive right enforceable against the United
 States for money damages . . . . [T]he Act merely confers jurisdiction upon [the United States
 Court of Federal Claims] whenever the substantive right exists." United States v. Testan, 424
u.s. 392, 398 (1976).

        Therefore, to pursue a substantive right under the Tucker Act, a plaintiff must identify
and plead an independent contractual relationship, Constitutional provision, federal statute,
and/or executive agency regulation that provides a substantive right to money damages. .See
Todd v. united States, 386 F.3d 1091, 1094 (Fed. Cir. 2004) ("[J]urisdiction under the Tucker
Act requires the litigant to identifu a substantive right for money damages against the United
States separate from the Tucker Act . . . ."); see also Fisher v. United States, 402 F.3d 1167,
1172 (Fed. Cir.2005) (en banc) ("The Tucker Act. . . does not create a substantive cause of
action; . . . a plaintiff must identi$ a separate source of substantive law that creates the right to
money damages. . . . [T]hat source must be 'money-mandating."'). Specifically, a plaintiff must
demonstrate that the source of substantive law upon which he relies "can fairly be interpreted as
mandating compensation by the Federal Govemment." United States v. Mitchell,463 U'S. 206,
216 (1983) (quoting Testan,424 U.S. at 400). And, the plaintiff bears the burden ofestablishing


         t It appears that at some point, Plaintiff received a notice of cancellation
                                                                                   of Social
Security benefit payments with a notice of a $992.68 overpayment. Am. Compl. (Dkt. No. 2l at
r, 3,4).
        Case 1:13-cv-00281-SGB Document 28 Filed 02/24/14 Page 4 of 9



jurisdiction by a preponderance of the evidence. See Reynolds v. Army & Air Force Exch. Serv.,
 846F.2d746,748 (Fed. Cir. 1988) ("[O]nce the [trial] court's subject matter jurisdiction [is] put
 in question . . . . [the plaintiffl bears the burden of establishing subject matter jurisdiction by a
preponderance of the evidence.").

        B.        Standard Of Review For Pro Se Litigants.

         The pleadings of a pro se plaintiff are held to a less stringent standard than those of
litigants represented by counsel . See Haines v. Kerner,404 U.S. 519, 520 (1972) (holding that
pro se complaints, "however inartfully pleaded," are held to "less stringent standards than formal
pleadings drafted by lawyers"). It has been the tradition of this court to examine the record "to
see if fapro se] plaintiff has a cause of action somewhere displayed." Ruderer v. United States,
412F.2d1285,1292 (Ct. Cl. 1969). Nevertheless, while the court may excuse ambiguities in a
                       s
pro se pluntiff complaint, the court "does not excuse [a compiaint's] failures."
Henke v. United States,60 F.3d 795, 799 (Fed. Cir. 1995).

        C.        Standard Of Review For A Motion To Dismiss Pursuant To RCFC 12(b)(1),

        A challenge to the United States Court of Federal Claims' "general power to adjudicate in
specific areas of substantive law            is properly raised by a [Rule] 12(b)(1) motion."
Palmerv.United States, 168 F.3d 1310, 1313 (Fed. Cir. 1999); see a/so RCFC l2(b)(1)
(allowing a party to assert, by motion, "lack of subject-matter jurisdiction"). When considering
whether to dismiss an action for lack of subject matter jurisdiction, the court is "obligated to
assume all factual allegations [of the complaint] to be true and to draw all reasonable inferences
in plaintiff s favor." Henke,60F.3dat797.

        D.        The Court's Resolution Of The Government's December 9, 2013 Motion To
                  Dismiss The Amended Complaint.

        The Amended Complaint has failed to allege a sufficient basis for subject matter
jurisdiction,   as discussed below.

                  1.       The United States Court Of Federal Claims Does Not Have
                           Jurisdiction To Adjudicate Claims Concerning The Conduct Of
                           United States Attorneys.

        The United States Supreme Court has stated that a court may dismiss a claim as factually
frivolous "only if the facts alleged are 'clearly baseless,' a category encompassing allegations
that are 'fanciful,' 'fantastic,' and 'delusional."' Denton v. Hernandez,504 U.S. 25, 32-33
(1992) (citations omitted) (quoting Neitzke v. l(illiams,490 U.S. 319,325,327-28 (1989)); see
also Moden v. United States,404 F.3d 1335,134142 (Fed. Cir. 2005) (construing "frivolous" as
"insubstantial, implausible, foreclosed by prior decisions, or otherwise completely devoid of
merit as not to involve a federal controversy"), A finding of factual frivolousness "is appropriate
when the facts alleged rise to the level of the inational or the wholly incredible," and a
determination that a claim is frivolous falls within the discretion of the trial court. Denton,504
U.S. at 33. To the extent that the Amended Complaint requests that the court eliminate the
United States Attomeys' office, that claim is frivolous. See Spenser v. United States,98 Fed. Cl.
       Case 1:13-cv-00281-SGB Document 28 Filed 02/24/14 Page 5 of 9



349,356 (201l) (holding that where plaintiff appears to assert claims against agents of the
United States, those claims are frivolous).

               2,      The United States Court Of Federal Claims Does Not Have
                       Jurisdiction To Review Decisions Of United States District Courts.

         The general jurisdiction of the court, described in 28 U.S.C. $ 1491, is over claims for
just compensation for the taking of private property, refund of federal taxes, military and civilian
 pay and allowances, and damages for breaches of contracts with the Government. This does not
 include jurisdiction to review decisions of United States District Courts. That jurisdiction lies
 with the United States Courts of Appeals. 28 U.S.C. $ 1291 ("The courts of appeals shall have
jurisdiction ofappeals from all final decisions of the district courts of the United States.").

         "The [United States Court of Federal Claims] has no jurisdiction over a claim if the
plaintiff has another suit for or in respect to that claim pending against the United States or its
agents." United States v. Tohono O'Odham Nation, 131 S. Ct. 1723, 1727 (2011); see also 28
U.S.C. $ 1500 ("The United States Court of Federal Claims shall not have jurisdiction of any
claim for or in respect to which the plaintiff. . . has pending in any other court any suit or
process against the [Govemment.]"). At the time Plaintiff filed the April 22,2013 Complaint,.ln
re Maurice Maynard Meyers, No. I 3-572, 2013 WL 5502825 (E.D.N.Y. Oct. 2, 2013) (various
filings dismissed for failure to conform to Federal Rule of Civil Procedure 8) was pending in the
Eastem District ofNew York. Plaintiff also has a Section 1983 suit pending in the United States
District Court for the Eastem District of New York. Meyers v. Health & Hosp. Corp., No. 13-
1258 (E.D.N.Y. filed Sept. 9,2012), That case originally was filed as a habeas corpus petition
on September 4, 2012 prior to the filing of the April 22, 2013 Complaint and remains pending in
the United States District Court for the Eastem District of New York. Section 1500 bars the
court from adjudicating claims raised in those cases. See Keene Corp. v. United States, 508 U.S.
200 (1993) (dismissing case for lack ofjurisdiction where the district court case was pending
when the plaintifffiled a complaint in the United States Court of Federal Claims).

        Therefore, the court does not have jurisdiction to review decisions by the United States
District Cou( for the Eastem District of New York denying Plaintiff certain social security
benefits for the period November 2006 untilJanuary 201 l.a

               3.     The United States Court Of Federal Claims Does Not                     Have
                      Jurisdiction To Grant Equitable Relief Or Discovery Requests From
                      Non-Parties.

        The Tucker Act authorizes certain forms of equitable relief, but does not confer
jurisdiction on the court to award equitable relief in the absence of a monetary claim. See 28
 U.S.C. $ la91@)(2), (b)(2); see also Fisher,402 F.3d at 1173 (describing the process to

       * See Meyers v. Soc. Sec. Admin., No. 09-2701, slip op. (E.D.N.Y. Oct. 30, 2009),
reconsideration denied (Atg. 19, 2010); Maynard v. Soc. Sec. Admin.,No.11-6046 (CBA), 2012
WL 2319249 (E.D.N.Y. June 19, 2012) (dismissed without prejudice for failure to exhaust
administrative remedies), reconsideration denied (Ocl.31,2012 and July 11, 2013).
        Case 1:13-cv-00281-SGB Document 28 Filed 02/24/14 Page 6 of 9




determine if a statute is money-mandating). As such, the court cannot grant broad equitable
remedies, and may only grant declaratory and injunctive relief in limited circumstances not
applicable here. ,See Stephensonv. United States,58 Fed. Cl. 186, 193 (2003). ("[T]his court. . .
cannot grant broad equitable remedies . . . [and] lacks authority to grant declaratory and/or
injunctive relief.").

       The court does not have jurisdiction over discovery requests from non-parties. See
Kennedy v. United States, 19 Cl. Ct. 69, 75 (1989) (dismissing claims because they were not for
a money judgment against the United States).

       Therefore, the court does not have jurisdiction over the Amended Complaint's request for
the names ofthe 12,300 individuals involved in the above-referenced Doe cases.

                4.      The United States Court Of Federal Claims Does Not                       Have
                        Jurisdiction To Adjudicate Habeas Corpus Claims.

        Congress did not authorize the United States Court of Federal Claims to adjudicate
habeas corpus claims. .See 28 U.S.C. $ 22al@) ("Writs of habeas corpus may be granted by the
Supreme Court, any justice thereof, the district courts and any circuit judge within their
respective jurisdictions."); see also Ledford v. United States,297 F.3d 1378, l38l (Fed. Cir.
2002) ("[T]he habeas statute does not list the Court of Federal Claims among those courts
empowered to grant a writ of habeas corpus."). Accordingly, Plaintiffs habeas claim must be
dismissed.

                5.     The United States Court Of Federal Claims Does Not                    Have
                       Jurisdiction To Adjudicate Retroactive Military           Pay Nor Veterans'
                       Benefits Claims In This Case.

        As a matter of law, a service member's status and right to pay and allowance in the armed
forces is set forth by statutes and regulations. See 10 U.S.C. $ l0l (defrning "uniformed
services" and terms relating to military personnel); see also Bell v. United States, 366 U.S. 393
(1961) ("The term 'active service' has a precise meaning in armed forces, not dependent upon
individual conduct."). A member's status determines whether the court has jurisdiction to
entertain suit. See 37 U.S.C. $ 204 (defining entitlements for military personnel); id. S 206
(defining entitlements for military reserves). The Amended Complaint does not allege a
plausible claim that Plaintiff has active status in the military or is entitled to retroactive military
pay or any other monetary award, other than to assert that he is due a one percent "suggestion
award" for unsolicited proposals. Am. Compl. (Dkt. No. 19 at 2). The Amended Complaint also
does not cite any money-mandating statute nor allege any facts to support jurisdiction in this
case. ,See Shalhoub v. United States, 75 Fed. Cl. 584, 586 (2007) (dismissing claim for military
pay because the plaintiffs claim was not based on any factual predicate); see also Albino v.
United States,l04 Fed. Cl. 801, 814-15 (2012) (noting that the Military Pay Act "is only money-
mandating when a plaintiff is involuntarily separated from the Armed Forces" (emphasis in
original)).

        To the extent the Amended Complaint seeks veterans' benefits, the court does not have
iurisdiction to entertain such a claim. Veterans' benefits claims fall within the exclusive
          Case 1:13-cv-00281-SGB Document 28 Filed 02/24/14 Page 7 of 9



adjudicatory scheme set in Title 38 of the United States Code. See 38 U.S.C. $ 511.' Section
511(a) of Title 38 precludes judicial review of veterans' benefits determinations in this court.
See Addington v. United States,94 Fed. Cl. 779,783 (2010) (holding that the United Stares Court
of Federal Claims does not have jurisdiction over veterans' benefits determinations); Ferreiro v.
United States,72Fed. Cl. 1,6 (2006) aff'd,501 F.3d 1349 (Fed. Cir. 2007) (citing 38 U.S.C. $
51   1) (same).

        Under the Veterans Judicial Review Act of 1988, 38 U.S.C. $$ 7251-98, Congress
established a comprehensive remedial scheme for the adjudication of veterans' benefits.
Exclusive jurisdiction to adjudicate appeals from a denial of benefits by the Board of Veterans
Appeals lies with the United States Court of Appeals for Veterans Claims. 38 U.S.C. g 7252(a)
("The Court ofAppeals for Veterans Claims shall have exclusive jurisdiction to review decisions
of the Board of Veterans' Appeals."). Appeals therefrom have been assigned to the United
StatesCourtofAppealsfortheFederalCircuit.38U.S.C.$7252(c)("Decisions...aresubject
to review as provided in section 7292 of this title;'); id. g 7292 ("The United States Court of
Appeals for the Federal Circuit shall have exclusive jurisdiction to review and decide any
challenge to the validity of any statute or regulation or any interpretation thereof brought under
this section."). As such, the United States Cou( of Federal Claims does not have jurisdiction to
adjudicate such claims. See Dayis v. United States, 36 Fed. Cl. 556, 559 (1996) (citing Gardner
v. Brown,5 F.3d 1456, 1463 (Fed. Cir. 1993), aff'd,513 U.S. 115 (1994) ("Jurisdiction for
appeals from the Court of Veterans Appeals lies exclusively in the United Court of Appeals for
the Federal Circuit.")).

                  6.       The United States Court Of Federal Claims Does Not                  Have
                           Jurisdiction To Adjudicate Social Security Benefits Claims.

        The court does not have jurisdiction to entertain suits for social security benefits; such
claims must be brought in the district courts. See 42 U.S.C. g 405(g), (h) (limiting judicial
review of final decisions of the Commissioner of Social Security); see also Marcus v. United
States, 909 F.2d 1470, 1471 (Fed. Cir. 1990) ("[T]he Claims Court has no jurisdiction under the
Tucker Act . . . over claims to social security benefits[.]"); Hickman v. United States,226 Ct. Cl.
716,717, cert. denied,454 U.S. 847 (1981). Nor does the United States Court of Federal Claims
have authority to grant punitive damages. Garner v. United Stdtes,230 Ct. Cl. 941,943 (1982)
("[P]unitive damages are not within the jurisdiction of this court." (citing United States v. King,
395 U.S. 1 (1969); Vincin v. United States,l99 Ct. Cl. 762,468 F.2d 930 (1972))).

       Plaintiffhas twice brought a similar claim in United States District Courts. See Meyers v.
Soc. Sec. Admin.,No.09-2701, slip op. (E.D.N.Y. Oct. 30, 2009), reconsideration denied (Aug.
19,2010), and Maynard v. Soc. Sec. Admin.,No. 11-6046 (CBA), 2012 WL 2319249 (E.D.N.Y.
June 19, 2012) (dismissed without prejudice for failure to exhaust administrative remedies),
reconsideration denied (Oct. 31 ,2012 and July I 1, 2013). To the extent that Plaintiff challenges

         5
         Section 511(a) provides: "The Secretary [of Veterans Affairs] shall decide all questions
of law and fact necessary to a decision by the Secretary. . . the decision of the Secretary as to any
such question shall be final and conclusive and may not be reviewed by any other official or by
any court, whether by an action in the nature of mandamus or otherwise." 38 U.S.C. $ 5l l(a).
        Case 1:13-cv-00281-SGB Document 28 Filed 02/24/14 Page 8 of 9



those rulings, this court does not have jurisdiction. See Joshua v. United States, 17 F.3d 378,
 380 (Fed. Cir. 1994) (The United States Court of Federal Claims, however, "does not have
jurisdiction to review the decisions of district courts . . . relating to proceedings before those
courts.").

III.    CONCLUSION.

      For these reasons, the Govemment's December 9, 2013 Motion to Dismiss the Amended
Complaint is granted. Accordingly, the Clerk is directed to dismiss the November 20, 2013
Amended Complaint.

        In addition to the Amended       Complaint in this court, Plaintiff has filed nnmerous
complaints in other courts.6 Based on a review of Plaintiffs claims and conespondence, the
court finds that Plaintiffs contacts with this court show "indicia of frivolousness and
harassment," namely in both the number of filings and their lack of merit. Inre Powell,85lF.2d,
427 , 431 (D.C. Cir. 1988) (holding that the court should look to "both the number aad content of
the filings as indicia of frivolousness and harassment"); see also Hemphill v. Kimberly-Clark
Corp.,374 Fed. App'x 41 (Fed. Cir. 2010) (following the guidelines discussed in In re Powell
concerning anti-filing injunctions for pro se litigants).

       Pursuant to Rule 11(c)(3) of the Rules of the United States Court of Federal Claims,
Plaintiff has thirty (30) days to show cause why this court should not issue an antifiling
injunction. See also In re Powell,85l F.3d at 433 (suggesting that a "district court should
consider issuing an order to show cause" before issuing an antifiling injunction). If Plaintiff does


       6
        Plaintiff initiated several other pro se actions. See Meyers v. Health & Hosp. Corp., No.
12-4450 (CBA), slip op. (E.D.N.Y. Mar. 6,2013) (dismissing habeas petition for failure to
comply with court order to identifu the constitutional basis for deprivation); Meyers v. Health &
Hosp. Corp., No. 12-436 (CBA), slip op. (E.D.N.Y. Apr. 30, 2012) (habeas dismissed as moot),
reconsideration denied,2012 WL 3011031 (July 23, 2012); Meyers v. Koloony, No. 11-2756
(CBA), slip op. (E.D.N.Y. Sep. 12, 201 1) (dismissing habeas petition for failure to comply with
Rule 8 of the Federal Rules of Civil Procedure or Rule 2 of the Rules Goveming Section 2254
Cases in the United States District Courts); Meyers v. New York Presbyterian llo.qp., No. l0-
3819 (CBA), 2011 WL 3924871 (E.D.N.Y. Sep. 7, 2011) (dismissing for failure to prosecute);
Meyersv. Health & Hosp. Corp., No. 09-1986 (CBA), slip op. (E.D.N.Y. Apr. 13, 2011)
(dismissing for lack of subject matter jurisdiction), reconsideration denied (Apt. 16,2012);
Meyers v. Williams, No. 10-620 (CBA), 201 | WL 721647 (E.D.N.Y. Feb.22,2011) (dismissing
habeas petition as moot), reconsideration denied (Atg. 19,2011).

        Plaintiff has filed at least three prior actions in the United States District Court for the
District of Columbia challenging his involuntary hospitalization. Meyers v. Health & Hosp.
Co4p., No. 09-1986 (CBA), slip op. (E.D.N.Y. Apr. 13, 2011) (dismissing for lack of subject
matter jurisdiction), reconsideration denied (Apr. 16, 2012); Meyers v. Williams, No. 10-620
(CBA), 20ll WL 721647 (E.D.N.Y. Feb.22,2011) (dismissing habeas petition as moot),
reconsideration denied (Aug. 19, 2011); Meyers v. New York Presbyterian Hosp., No. 10-3819
(CBA),2011 WL3924871(E.D.N.Y. Sep. 7,2011) (dismissing for failure to prosecute).
         Case 1:13-cv-00281-SGB Document 28 Filed 02/24/14 Page 9 of 9




not do so, the Clerk will be further direct€d to acc€.pt no other actions or filings by Maurice
Maynard Meyers, without an Order of the Chief Judge of the United States Court of Federal
Claims. ,See RCFC Rule l1(b) (baning the liling of unwarranted or frivolous claims).

         In the interim, the Clerk's Office shall reject any additional complaints fiom Plaintif
unless   accompanied by the court's required filing fee.


         IT IS SO ORDERED.


                                                    Judge
